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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

    In re:                                                               Case No. 3:16-bk-02230-PMG

    RMS TITANIC, INC., et al.,1                                          Chapter 11 (Jointly Administered)

      Debtors.


              FIFTH INTERIM APPLICATION OF TROUTMAN SANDERS LLP
                 FOR ALLOWANCE OF COMPENSATION FOR SERVICES
                   RENDERED AND REIMBURSEMENT OF EXPENSES
                INCURRED AS CO-COUNSEL TO THE DEBTORS FOR THE
                PERIOD FROM FEBRUARY 1, 2018 THROUGH MAY 31, 2018

                               NOTICE OF OPPORTUNITY TO
                            OBJECT AND REQUEST FOR HEARING

          Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
      paper without further notice or hearing unless a party in interest files a response
      within twenty-one (21) days from the date set forth on the attached proof of service,
      plus an additional three days for service if any party was served by U.S. mail.

          If you object to the relief requested in this paper, you must file a response with
      the Clerk of the Court at Bryan Simpson United States Courthouse, 300 North Hogan
      Street, Suite 3-150, Jacksonville, Florida 32202, and serve a copy on the movant,
      Matthew Brooks, Troutman Sanders LLP, 600 Peachtree St. NE, Suite 3000, Atlanta,
      GA 30308, and any other appropriate persons within the time allowed. If you file
      and serve a response within the time permitted, the Court will either schedule and
      notify you of a hearing or consider the response and grant or deny the relief without
      a hearing.

          If you do not file a response within the time permitted, the Court will consider
      that you do not oppose the relief requested in the paper, will proceed to consider the
      paper without further notice or hearing, and may grant the relief requested.




1
 The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp.
(7309). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


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               Name of Applicant:                                   Troutman Sanders LLP
               Services Provided to:                                RMS Titanic, Inc. and certain of its affiliates,
                                                                    as Debtors and Debtors in possession
               Date of Retention:                                   November 9, 2016
               Period for this Application:                         February 1, 2018 through May 31, 2018
               Amount of Compensation Sought:                       $366,121.802
               Amount of Expense Reimbursement:                     $12,587.843
               Amount of Original      N/A                          Current Balance:       N/A
               Retainer:
               Blended Hourly                                       Cumulative
                                        $519.40
               Rate this                                            Blended                     $452.45
               Application:                                         Hourly Rate:
               This is an interim or final application:             Interim


           Prior Applications Filed:



                                          Requested                                 Approved                    Paid             Holdback

Filed          Period   Fees            Hrs.      Blended Exps.            Fees              Exps.         Total Paid

                                                  Rate

           11/9/16
 2/28/17             $321,833.39        665.6     $483.60    $13,984.82     $321,833.39      $13,984.82      $335,818.21           $0
           through
           1/31/17
             2/1/17
 7/7/17              $620,880.30        1660.7 $373.87       $34,383.01     $620,880.30      $34,383.01      $655,263.31           $0
           through
           5/31/17
             6/1/17
10/20/17             $313,179.75        622.3     $485.40    $13,395.60     $313,179.75      $13,395.60      $326,575.35           $0
           through
           9/30/17
           10/1/17
 3/1/18              $456,426.00        940.3     $485.40    $12,492.74       Pending          Pending      $368,391.034     $100,527.71
           through
           1/31/18
       Total        $1,712,319.44       3,888.9   $440.31    $74,256.17     $1,255,893.44    $61,763.43     $1,686,047.9     $100,527.71



           2
             This amount reflects an agreed-upon ten percent discount of Troutman’s standard hourly rates for this engagement.
           3
             This amount includes $7,048.72 for expenses incurred by eMerge on behalf of the Debtors, as described more fully
           in ¶ 12 below.
           4
             This amount was paid to the Applicant pursuant to the August 17, 2016 Order Granting Motion to Establish
           Procedures to Permit Monthly Payment of Interim Fee Applications of Chapter 11 Professionals [D.E. 141].


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       Troutman Sanders LLP (“Troutman”), as co-counsel to RMS Titanic, Inc. and certain of

its affiliates, as Debtors and Debtors in possession (the “Debtors”), pursuant to Section 330 of

Title 11 of the United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”) and Rule

2016(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), hereby files its

Fifth Interim Application of Troutman Sanders LLP for Allowance of Compensation for Services

Rendered and Reimbursement of Expenses Incurred as Co-Counsel to the Debtors (the

“Application”) for professional services rendered and expenses incurred by Troutman during the

period of February 1, 2018 through and including May 31, 2018 (the “Application Period”). In

support thereof, Troutman respectfully states:

                RETENTION OF TROUTMAN AND REQUESTED AWARD

       1.       This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§

157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(A). Venue is proper

before this Court pursuant to 28 U.S.C. § 1408. The statutory predicates for the relief requested

herein are sections 328, 330, 331 and 503(b) of the Bankruptcy Code.

       2.         On June 14, 2016 (the “Petition Date”), the Debtors each filed a voluntary

petition in this Court for relief under chapter 11 of the Bankruptcy Code, commencing the

above-captioned case (the “Bankruptcy Case”).

       3.         On November 15, 2016, the Debtors submitted the Debtors’ Application to

Employ and Retain Troutman Sanders LLP as Co-Counsel for the Debtors Effective as of

November 9, 2016 [D.E. 324] (the “Application to Employ”). The Application to Employ was

granted via order of this Court on December 16, 2016 [D.E. 378].

       4.         Prior to the Debtors’ Application to Employ, the Debtors filed the Motion to

Establish Procedures to Permit Monthly Payment of Interim Fee Applications of Chapter 11




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Professionals [D.E. 89], which was approved by the Court’s Order entered on August 17, 2016

[D.E. 141] (the “Compensation Order”).

         5.         Troutman submits this Application, pursuant to Sections 328, 330, 331 and

503(b) of the Bankruptcy Code, Bankruptcy Rule 2016 and the Guidelines of the United States

Trustee (the “Guidelines”). Troutman requests an interim award of legal fees incurred by

Troutman for services rendered, as co-counsel to the Debtors, in the amount of $366,121.80 and

reimbursement for the actual and necessary expenses incurred by Troutman during the

Application Period in the amount of $12,587.84; comprised of four monthly fee statements5

pursuant to the Compensation Order as follows:

               a. Sixteenth Monthly Fee Statement for the period of February 1, 2018
                  through and including February 28, 2018 in the amount of $91,345.10
                  ($88,525.35 in Fees, $945.07 in Troutman Expenses and $1,874.68 in
                  eMerge Expenses).

               b. Seventeenth Monthly Fee Statement 6 for the period of March 1, 2018
                  through and including March 31, 2018 in the amount of $69,931.17
                  ($64,988.10 in Fees, $3,218.39 in Troutman Expenses and $1,724.68 in
                  eMerge Expenses).

               c. Eighteenth Monthly Fee Statement for the period of April 1, 2018
                  through and including April 30, 2018 in the amount of $84,899.18
                  ($83,137.50 in Fees, $37.00 in Troutman Expenses and $1,724.68 in
                  eMerge Expenses).

               d. Nineteenth Monthly Fee Statement for the period of May 1, 2018
                  through and including May 31, 2018 in the amount of $132,534.19
                  ($129,470.85 in Fees, $1,338.66 in Troutman Expenses and $1,724.68
                  in eMerge Expenses).


         6.        This request is Troutman’s Fifth Interim Application to the Court for

5
  A true any correct copy of each of the four monthly fee statements are attached as Exhibit 4 hereto.
6
  Exbibit 4 includes a revised March 2018 invoice to reflect a reduction in expenses totaling $1,080.07, due to an
inadvertent billing error in the initial invoice submitted to the Debtors. Troutman has credited the Debtors’ account
for the overpayment and included the corrected invoice in Exhibit 4, attached hereto. Because Troutman has already
credited the Debtors’ account, the amount requested herein accounts for the credit/reduction, and thus should not be
further reduced.


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compensation and reimbursement of expenses for services rendered as co-counsel to the

Debtors. No understanding exists between Troutman and any other person for the sharing of

compensation sought by Troutman, except among the partners and associates of Troutman.

       In accordance with the Guidelines, the following exhibits are annexed to this

Application:


         Exhibit 1:             Summary of Professional Time;
         Exhibit 2:             Summary of Professional Time by Activity Code Category;
         Exhibit 3:             Summary and Breakdown of Requested Reimbursement of
                                Expenses and Disbursements; and
         Exhibit 4:             Detailed Description of the Services Rendered and Expenses
                                and Disbursements.

       7.       Troutman has expended a total of 704.9 hours during the Application Period in

rendering necessary and beneficial legal services to the Debtors. Notably, the Debtors and their

professionals successfully negotiated a term sheet as well as an Asset Purchase Agreement [D.E.

1058] for the sale of substantially of the Debtors’ assets. The negotiation and drafting of the term

sheet and Asset Purchase Agreement required a significant investment of billable time. Exhibit 1

contains a list of Troutman’s professionals who have provided services to the Debtors during the

Application Period, the hourly rate charged by each and a summary of time expended by each.

Exhibit 2 contains a summary of professional time by activity code as required by, and in

compliance with, the Guidelines. Exhibit 3 contains a summary of Troutman’s total actual and

necessary out-of-pocket expenses and disbursements incurred on behalf of the Debtors, for which

Troutman seeks reimbursement in accordance with Section 330(a)(2) of the Bankruptcy Code, the

Bankruptcy Rules and the Guidelines. The expenses and disbursements summarized in Exhibit 3 are

those which Troutman customarily invoices to its clients. Exhibit 4 contains: (i) a daily description

of the services rendered and the hours expended by the various professionals of Troutman who


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performed services in this case; and (ii) a detailed listing of the expenses and disbursements for

which Troutman seeks reimbursement. Troutman has prepared Exhibit 4 based on, among other

things, contemporaneous daily time records maintained by the Troutman’s attorneys and

professionals who rendered services in this case.

                                          BACKGROUND

       8.       The factual background regarding the Debtors, including their business

operations, capital and debt structure, and the events leading to the filing of this bankruptcy case,

are set forth in detail in the Chapter 11 Case Management Summary [D.E. 8] (the “Case

Summary”).

       9.          The Debtors continue to manage and operate their business as debtors in

possession under Bankruptcy Code sections 1107 and 1108.

       10.         On August 24, 2016, the United States Trustee appointed an Official

Committee of Unsecured Creditors and an Official Committee of Equity Security Holders

[D.E. 166, 167].
                            ACTUAL AND NECESSARY EXPENSES

       11.      A summary of actual and necessary expenses incurred by Troutman during the

Application Period is attached hereto as Exhibit 3. During this Application Period, Troutman

hosted a plan mediation from February 26-27, 2018 with representatives from the Debtors, the

Official Committee of Equity Holders, the Official Committee of Unsecured Creditors, the

United States Department of Commerce (National Oceanic and Atmospheric Administration),

and certain other representatives in attendance. With respect to on-line legal research, Troutman

has a fixed-price contract with LexisNexis and passes on to the firm’s clients the discount for

research covered by the contract. This discount varies based on the firm’s usage in a given

month. After removing administrative charges, we apply the discount (contract cost divided by


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usage cost) to the research cost by client and matter. Research not covered by the contract is

charged at the retail rate.

        12.     Certain expenses incurred during the Application Period, totaling $7,048.72, are

attributable to eMerge, a wholly owned subsidiary of Troutman. eMerge is an eDiscovery

company used by Troutman to analyze and respond to discovery requests. eMerge was formed

in 2012 and has been used by Troutman on over one thousand different matters since that time.

A detailed breakdown of the expenses that are attributable to eMerge during the Application

Period are included in Exhibit 4.

        13.     Troutman believes the foregoing fees are at the market rates charged to clients for

such services. The market rates charged by Troutman have been reduced by an agreed-upon

discount of ten-percent (10%). In addition, Troutman believes that the expense charges are in

accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

charges.

                         INDEXING OF TASKS BY ACTIVITY CODES

        14.     As set forth in the Exhibits to this Application, Troutman has organized its time

  records by activity codes in accordance with the Guidelines. Accordingly, each of the time

  entries of the attorneys of Troutman have been indexed into the following categories:

           B110 Case Administration: Coordination and compliance activities, including
           review of statement of financial affairs; schedules; list of contracts; United States
           Trustee interim statements and operating reports; contacts with United States
           Trustee; general creditor inquiries.

           B120 Asset Analysis and Recovery: Identification and review of potential assets
           including causes of action and non-litigation recoveries.

           B130 Asset Disposition: Sales, abandonment and transaction work related to asset
           disposition.


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B140 Relief from Stay – Adequate Protection Proceedings: Tasks related to and
including all motions to modify the automatic stay, issues related to the effect of the
automatic stay on pending matters, and all other types of actions where adequate
protection was the central issue.

B150 Meeting of and Communications with Creditors: Tasks involving all
matters related to responding to creditors’ inquiries and inquiries from the official
committee of unsecured creditors.

B160 Fee/Employment Applications: Preparations of employment and fee
applications for the firm or others; and review of applications filed by other
professionals in the case.

B185 Assumption/Rejection of Leases and Contracts: Analysis of leases and
executory contracts and preparation of motions specifically to assume or reject.

B190 Other Contested Matters: Analysis and preparation of all other motions,
opposition to motions and reply memoranda in support of motions related to
adversary proceedings and contested matters.

B210 Business Operations: Issues related to debtor-in-possession operating in
chapter 11 such as employee, vendor, tenant issues and other similar problems.

B220 Employee Benefits/Pensions: Tasks related to employee wages, benefits, and
other employee relations matters.

B230 Financing/Cash Collateral: Matters under 361, 363 and 364 including cash
collateral and secured claims; loan document analysis.

B240 Tax Issues: Review and analysis of tax-related issues.

B260 Board of Directors Matters: Analysis of issues and counseling Debtors in
relation to communications, meetings, and other Board of Directors matters.

B310 Claims Administration and Objections: Review and analysis of matters
related to claims administration and bar date matters, including objections and other
related contested matters.

B320 Plan and Disclosure Statement: Analysis of issues and counseling Debtors
in matters related to generating a plan of reorganization and drafting a disclosure
statement.

B410 General Bankruptcy Advice/Opinions: Analysis, advice and/or opinions
regarding potential bankruptcy related issues.



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          B420 Restructurings: Analysis, advice and/or opinions regarding modification of
          existing business structures and contracts and evaluating potential bankruptcy exit
          strategies, including offers for the purchase of the Debtors’ assets.

                                DESCRIPTION OF SERVICES

Summary of Services Rendered

       15.     Troutman, by and through its partners, counsels, associates and staff and through

employees of eMerge has prepared and/or assisted in the preparation of various motions,

responses, applications and orders submitted to the Court for consideration, advised the Debtors

on a regular basis with respect to various matters in connection with these cases, and has

performed all necessary professional services which are described and narrated in detail

hereinafter.

Summary of Services by Project

       16.     The services rendered by Troutman and eMerge professionals during the

Application Period can be grouped into the categories set forth above. These categories are

generally described below, with a more detailed identification of the actual services provided

during the Application Period set forth on the attached Exhibit 4. The attorneys and other

employees who rendered services relating to each category during the Application Period are

identified, along with the number of hours for each individual and the total compensation sought

for each category, in Exhibit 2 attached hereto.

               A.      Case Administration (Activity Code B110)

       Troutman assisted and counseled the Debtors with regard to matters concerning all

aspects of the administration of the Chapter 11 case. Troutman performed tasks related to

preparing and filing documents with the Court; maintenance of calendars, communications with

the U.S. Trustee and various parties-in-interest; and attending meetings and court hearings.




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       Troutman expended a total of 22.7 hours in this category and is requesting $11,091.60

for the services rendered in this category.

               B.      Asset Analysis & Recovery (Activity Code B120)

       Troutman assisted and counseled the Debtors in relation to the identification and

review of potential assets including causes of action and non-litigation recoveries.

       Troutman expended a total of 3.5 hours in this category and is requesting $1,527.75 for

the services rendered in this category.

               C.      Asset Disposition (Activity Code B130)

       Troutman assisted and counseled the Debtors in relation to disposition of property of the

estate, including a potential sale of the Debtor as a going concern pursuant to section 363 of the

Bankruptcy Code.

       Troutman expended a total of 84.4 hours in this category and is requesting $35,725.95

for the services rendered in this category.

               D.      Meeting of and Communications with Creditors (Activity Code B150)

       Troutman performed tasks involving all matters related to responding to creditors’ inquiries

and inquiries from the Official Committee of Unsecured Creditors.

       Troutman expended a total of 0.6 hours in this category and is requesting $234.90 for the

services rendered in this category.

               E.      Fee/Employment Applications (Activity Code B160)

       Troutman spent time performing tasks related to preparing applications for Troutman’s

compensation as co-counsel to the Debtors and reviewing applications filed by other

professionals in this case. Troutman also spent time performing tasks related to the Debtors’

applications to employ certain experts.




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       Troutman expended a total of 26.1 hours in this category and is requesting $10,255.05

for the services rendered in this category.

               F.      Other Contested Matters (Activity Code B190)

       Troutman assisted and counseled the Debtors with matters related to adversary

proceedings and contested hearings and performed tasks such as analyzing and preparing

motions and responses or oppositions to motions. Additionally, Troutman completed tasks

related to responding to the Equity Committee’s Bankruptcy Rule 2004 subpoena.

       Troutman expended a total of 131.3 hours in this category and is requesting $59,355.90

for the services rendered in this category.

               G.      Business Operations (Activity Code B210)

       Troutman conducted meetings with executives and reviewed documents regarding

business operations. On these issues, Troutman conferred with counsel to the Official

Committee of Unsecured Creditors and Official Committee of Equity Security Holders of

Premier Exhibitions, Inc. as to the operations, cash flow, and related issues.

       Troutman expended a total of 30.9 hours in this category and is requesting $13,563.45

for the services rendered in this category.

               H.      Employee Benefits/Pensions (Activity Code B220)

       Troutman completed tasks related to employee wages, benefits, and other employee

relations matters.

       Troutman expended a total of 7.6 hours in this category and is requesting $4,286.70 for

the services rendered in this category.

               I.      Financing/Cash Collections (Activity Code B230)

       Troutman assisted and counseled the Debtors with regard to cash flow projections and




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cash collateral.

        Troutman expended a total of 0.5 hours in this category and is requesting $218.25 for

the services rendered in this category.

                   J.   Board of Directors Matters (Activity Code B260)

        Troutman assisted and counseled the Debtors with communications, meetings, and other

matters related to the Debtors’ board of directors.

        Troutman expended a total of 28.2 hours in this category and is requesting $14,974.20 for

the services rendered in this category.

                   K.   Claims Administration and Objections (Activity Code B310)

        Troutman assisted the Debtors with matters related to claims administration and bar date

matters, including claims objections and related contested matters.

        Troutman expended a total of 56.4 hours in this category and is requesting $19,675.80 for

the services rendered in this category.

                   L.   Plan and Disclosure Statement (Activity Code B320)

        Troutman assisted Debtors in matters related to formulating a plan of reorganization and

related disclosure statement in these cases.

        Troutman expended a total of 8.6 hours in this category and is requesting $5,526.00 for

the services rendered in this category.

                   M.   General Bankruptcy Advice/Opinions (Activity Code B410)

        Troutman assisted and counseled the Debtors with regard to general bankruptcy

questions and analysis.

        Troutman expended a total of 5.1 hours in this category and is requesting $1,773.00 for

the services rendered in this category.




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               N.      Restructurings (Activity Code B420)

       Troutman assisted and counseled the Debtors with regard to the modification of the

business structure and contracts of the Debtors and evaluating bankruptcy exit strategies.

       Troutman expended a total of 299.0 hours in this category and is requesting $187,913.25

for the services rendered in this category.

                        EVALUATION OF SERVICES RENDERED;
                          FIRST COLONIAL CONSIDERATIONS

       17.     This Application has presented the nature and extent of the professional services

that Troutman has rendered in connection with its representation of the Debtors for which

Troutman seeks compensation.        The recitals set forth in the daily diaries attached hereto

constitute only a summary of the time spent. A mere reading of the time summary annexed

hereto alone cannot completely reflect the full range of services that Troutman rendered and the

complexity of the issues and the pressures of time and performance which have been placed on

Troutman in connection with these cases.

       18.     American Benefit Life Ins. Co. v. Baddock (In re First Colonial Corp.), 544 F.2d

1291 (5th Cir. 1977), enumerates twelve factors a bankruptcy court should evaluate in awarding

fees. First Colonial remains applicable in the Eleventh Circuit to the determination of

reasonableness of fees to be awarded under the Bankruptcy Code. Grant v. George Schumann

Tire & Battery Co., 908 F.2d 874 (11th Cir. 1990); Collier on Bankruptcy, 330.05[2] [a] at 330-

33 through 330-37 (L. King 15th ed. 1991); see also Bonner v. City of Prichard, 661 F.2d 1206,

1209 (11th Cir. 1981). The twelve factors are:

                     (1)      The time and labor required;
                     (2)      The novelty and difficulty of the questions presented;
                     (3)      The skill required to perform the legal services properly;
                     (4)      The preclusion from other employment by the attorney due to
                              acceptance of the case;



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                    (5)     The customary fee for similar work in the community;
                    (6)     Whether the fee is fixed or contingent;
                    (7)     The time limitations imposed by the client or circumstances;
                    (8)     The amount involved and results obtained;
                    (9)     The experience, reputation and ability of the attorneys;
                    (10)    The undesirability of the case;
                    (11)    The nature and length of the professional relationship with the
                            client; and
                    (12)    Awards in similar cases.

               First Colonial, 544 F.3d at 1298-99.

       19.     Based on the standards set forth in Section 330 of the Bankruptcy Code and First

Colonial, Troutman believes that the fair and reasonable value of its services rendered during

the Application Period is $366,121.80 plus expenses of $12,587.84.

       A.      Time, Nature and Extent of Services Rendered, Results Obtained, and
               Related First Colonial Factors

       20.     The foregoing summary, together with the exhibits attached hereto, details the

time, nature and extent of the professional services of Troutman rendered for the benefit of the

estate during the period covered by this Application. The total number of hours expended,

704.90 hours, reveals the extensive time devoted to this matter by Troutman on a vast

spectrum of legal issues which have arisen in this case during the period covered by this

Application.

       B.      Novelty and Difficulty of Questions Presented

       21.     The issues that have arisen in this case during the Application Period demanded

a high level of skill due to their complexity. Troutman spent considerable time reviewing or

drafting pleadings and documents relating to, among other things, the Debtors’ unique

businesses and evaluating and analyzing potential options for the Debtors’ exit from these

bankruptcy cases.

       C.      Skill Requisite to Perform Services Properly



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       22.     In rendering services to the Debtors, Troutman demonstrated substantial legal

skill and expertise in the areas of bankruptcy, commercial law, debtor-creditor rights, and

secured transactions and negotiation.

       D.      Preclusion from Other Employment by Attorney Due to Acceptance of Case

       23.     Troutman has devoted substantial time to the representation of the Debtors as

more fully appears on Exhibit 1. Troutman is aware of no other specific employment that was

precluded as a result of its acceptance of this case, but had Troutman not accepted this

employment, the time spent on this case would have been spent on other matters that would pay

an hourly compensation on a current basis.

       E.      Customary Fee

       24.     The hourly rate charged by Troutman as set forth in Exhibits 1 and 2 ranges

from $195.00 to $795.00 for professionals, which is customary for professionals of similar skill

and experience. Additionally, as part of this engagement, Troutman agreed to apply a ten

percent discount on its standard hourly rate.

       25.     The standard hourly rate charged for professionals who worked on this case are

listed below. Troutman has agreed as part of this engagement to provide the Debtors a ten

percent (10%) discount off of these standard hourly rates.

                                 PROFESSIONAL                HOURLY RATE
                                    Julia Tyson*                 $195
                                    Nirav Shah*                  $270
                                 Amanda Evanson*                 $310
                                 Matthew G. Roberts              $350
                                   Meghan Wells                  $360
                                     Sean Ehni                   $380
                                     Eunjin Lee                  $425
                                  Kristin O’Connor               $435
                                    Mary Weeks                   $460



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                                     Stephen Roach                $485
                                    Matthew Brooks                $515
                                     Brad Resweber                $590
                                     Brett Goodman                $635
                                      Amy Cheung                  $710
                                      Mary Zinsner                $710
                                    Harris Winsberg               $775
                                    Jeffery Cavender              $775
                                     Jeffery Banish               $780
                                        Tim Mast                  $795
*eMerge Professional
     F.     Whether Fee is Fixed or Contingent

       26.     Troutman’s compensation in this matter is subject to the approval of the Court

and is, therefore, contingent. The Court should consider this factor, which militates in favor of

a fee award in the amount requested. The amount requested is consistent with and lower than

the fee that Troutman would charge its client in other non-contingent bankruptcy and

commercial cases.

       G.      Time Limitations Imposed by Client or Other Circumstances

       27.     The circumstances of this case occasionally imposed serious time constraints on

Troutman due to the necessity for rapid resolution of significant issues.

       H.      Experience, Reputation and Ability of Attorneys

       28.     Troutman is a well-established and respected law firm and its partners, associates,

and other staff working on this case are experienced in matters of this kind. Troutman has a

strong reputation and has demonstrated significant ability in the fields of bankruptcy, commercial

law, litigation, creditors’ rights and business reorganization.

       I.      “Undesirability” of Case

       29.     This case is not undesirable. Troutman is privileged to have the opportunity to

represent the Debtors and to appear before this Court in this case.


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       J.      Nature and Length of Professional Relationship with Client

       30.     Troutman has represented the Debtors since November 9, 2016.

       K.      Awards in Similar Cases

       31.     The amount requested by Troutman is reasonable in terms of awards in cases of

similar magnitude and complexity. The compensation that Troutman requests comports with

the mandate of the Bankruptcy Code, which directs that services be evaluated in light of

comparable services performed in non-bankruptcy cases in the community.

                                        CONCLUSION

       WHEREFORE, Troutman respectfully requests the Court to enter an order (i) awarding

it the sum of $366,121.80 as compensation for services rendered, and $12,587.84 as

reimbursement for actual and necessary expenses incurred during the course of Troutman’s

representation of the Debtors during the Application period; (ii) authorizing and directing the

Debtors to pay Troutman 100% of the compensation in the amount of $366,121.80 and 100% of

its costs in the amount of $12,587.84 for a total amount of $378,709.64 less any amounts paid

to date, representing the aggregate fees and costs sought by Troutman herein; and (iii) granting

such other and further relief as the Court deems appropriate.




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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using CM/ECF on June 27, 2018. I also
certify that the foregoing document is being served this day on the following counsel of
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